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FILED
UNITED STATES DISTRICT COURT SEP 13 2018

SUSAN Y, S00NG
NORTHERN DISTRICT of CALIFORNIA cer. oe tor rer WA

In re: Class Action Clerk 1* Class US Certified Mail No.
70133020000072846146
Friday September 09, 2016

Cathode Ray Tube Anti-Trust Litigation

et al Case No. C-07-5944-JST
MD. No. 1917

Glenn Greene — End User
Litigant

NOTICE IN TO REGARD PER OBJECTIONS IN THE MATTER OF THE
CRT INDIRECT PURCHASER CLASS ACTION SETTLEMNENT
CLAIMS AND END USER/INDEPENDENT CONTRACTOR CLAIMS |
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Please be advised that ! Glenn Greene, a Litigant in this case, before this the
Honorable United States District Court for the Northern District of California,

in conjunction per the ending date of any objections postmarked before this Court
before September 30, 2016, state per the notice submitted to Glenn Greene by
e-mail from CRT on 08/01/2016, that | am protesting this process, whereas per
the e-mail and attempting to navigate to the page, and not able to do so, which
was on the CRT indirect Purchase Class Action Settlement(s) page in order to
view the Plan of Distribution per the Fairness Hearing of the Chunghwa
Settlement to be held on November 14, 2016. My objections are predicated on
the outcome per the allocation in regard to the net settlement after the hearing

and not being able to view the page(s) in question.

7 Peters.

Glenn Greene P.O. Box 73562 Washington, D.C. 20056-3562

Cc: 1* Class Mail a.) Charles E. Donegan, Esq. Attorney At Law
b.) U.S. Mailing Certificate 1** Class 7013302000007284
6191CRT Claims Litigation
c/o The Notice Company, P.O. Box
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